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                                                                                             United States District Court
            Sealed                         UNITED STATES DISTRICT COURT                        Southern District of Texas
Public and unofficial staff access         SOUTHERN DISTRICT OF TEXAS                             ENTERED
     to this instrument are                      HOUSTON DIVISION
   prohibited by court order                                                                      July 21, 2022
                                                                                               Nathan Ochsner, Clerk

          UNITED STATES OF AMERICA                           §
                                                             §

                           V.
                                                             §     CRIMINAL NO:         4:22-cr-350
                                                             §
          VERSIE PHILLIP SEGERS,                             §      SEALED
                                                             §
            Defendant.
                                                             §
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                                     ORDER FOR ISSUANCE OF BENCH WARRANT


             A     CRIMINAL INDICTMENT                 has been returned against the defendant listed

          below.

            It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and

          appearance, a judicial determination shall be made as to detention or release on conditions. The

          United States Government recommends to the Court the following:

          Defendant

          VERSIE PHILLIP SEGERS

                                                                   DETENTION
                                                                   RELEASED ON CONDITION
                                                                   APPEARANCE BOND IN THE
                                                                   AMOUNT OF: $

             SIGNED at Houston, Texas, on July 21, 2022.




                                                       UNITED STATES MAGISTRATE JUDGE
